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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                     CENTRAL DIVISION at LEXINGTON

IN RE CLASSICSTAR MARE LEASE   )
LITIGATION                     )                   MDL No. 1877
                               )
and                            )                  Master File:
                               )          Civil Action No. 07-353-JMH
WEST HILLS FARMS, LLC, et al., )
                               )
     Plaintiffs,               )
                               )
v.                             )
                               )
CLASSICSTAR, LLC, et al.,      )          Civil Action No. 06-243-JMH
                               )
     Defendants.               )                      JUDGMENT


                                *** *** ***

      In accordance with the Court’s Memorandum Opinion and Order of

even date herewith and pursuant to Fed. R. Civ. P. 54(b), IT IS

ORDERED that the Court’s Amended Judgment, dated November 8, 2011

[DE 767], with respect to Plaintiffs’ claims is a FINAL and

APPEALABLE order and that there is NO JUST CAUSE TO DELAY in its

execution.

      This the 30th day of March, 2012.
